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      In The United States Court of Federal Claims
                                               No. 09-460L

                                       (Filed: April 12, 2013)
                                             __________

 DOUGLAS R. BIGELOW TRUST,
 JAMIE MORTENSON, et al.,
 On behalf of themselves and all other
 similarly situated persons,

                                 Plaintiffs,

                          v.

 THE UNITED STATES,

                                 Defendant.
                                                _________

                                                 ORDER
                                                _________

       On April 11, 2013, the parties filed a joint status report requesting until May 1, 2013, to
inform the court whether a comprehensive settlement has been reached. Accordingly:

       1.       On or before May 1, 2013, the parties shall file a joint status report;

       2.       If that joint status report indicates the parties have reached a
                comprehensive settlement, no schedule need be proposed; and

       3.       If that joint status report indicates the parties have not reached a
                comprehensive settlement, it shall include a proposed schedule for further
                proceedings.

No further enlargements of this deadline will be granted unless parties inform the
court that as of the date of the joint status report, all that remains in reaching a
comprehensive settlement is administrative processing.

       IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
